                Case 1:20-cr-00047-RP Document 353-2 Filed 04/19/21 Page 1 of 8                      GOVERNMENT
                                                                                                       EXHIBIT
                                                                                                   CASE
                                                                                                         A20CR047-RP-3
                                                                                                   NO.____________________

                                                                                                   EXHIBIT
                                                                                                                 2
                                                                                                   NO.____________________




From:              Mercado, Rachel (USATXW)
Sent:              Friday, April 16, 2021 10:15 AM
To:                'John De La Vina'
Cc:                Marshall, Mark (USATXW)
Subject:           RE: Cory Patton



Counsel:

I have loaded a courtesy copy of the first two batches of discovery that were produced on February 23,
2021, to the hard drive you provided on April 6, 2021. Please feel free to stop by the USAO front desk
at your convenience to pick-up.

Have a great weekend!

Rachel

From: Mercado, Rachel (USATXW)
Sent: Wednesday, April 7, 2021 1:30 PM
To: 'John De La Vina' <john@delavinalaw.com>
Cc: Marshall, Mark (USATXW) <MMarshall1@usa.doj.gov>
Subject: RE: Cory Patton

Counsel-

I received your hard drive. The power cable is not attached. Please send over the power cable at your
earliest convenience.

The contents of the Blu-ray will be loaded to your hard drive as soon as possible. Currently estimated
for the week of April 26th.

Rachel

From: Mercado, Rachel (USATXW)
Sent: Tuesday, March 30, 2021 10:28 AM
To: John De La Vina <john@delavinalaw.com>
Subject: RE: Cory Patton

I believe Mark sent you the case agent information. I don’t have any other passwords, other than the
one I provided on this chain. Please contact the case agent.

From: John De La Vina <john@delavinalaw.com>
Sent: Tuesday, March 30, 2021 10:24 AM
To: Mercado, Rachel (USATXW) <RMercado@usa.doj.gov>
Subject: Re: Cory Patton
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Good morning,

Any luck on figuring out this password to unlock discovery?

Thanks.

On Wed, Mar 24, 2021 at 8:20 AM Mercado, Rachel (USATXW) <Rachel.Mercado@usdoj.gov> wrote:

 The password I provided is to unzip the zip file. Make sure your CAPS lock is not on before you enter
 the PW. Contact the case agent for any additional file passwords.



 From: John de la Vina <delavina.law@gmail.com>
 Sent: Tuesday, March 23, 2021 1:51 PM
 To: Mercado, Rachel (USATXW) <RMercado@usa.doj.gov>
 Subject: Re: Cory Patton



 It's really important that I access this discovery. Any other passwords I can try?



 Thanks



 On Tue, Mar 23, 2021 at 10:22 AM John de la Vina <delavina.law@gmail.com> wrote:

  Did not work.



  On Tue, Mar 23, 2021 at 9:17 AM Mercado, Rachel (USATXW) <Rachel.Mercado@usdoj.gov> wrote:

   Good morning! Try 1TXW*usao!



   From: John de la Vina <delavina.law@gmail.com>
   Sent: Tuesday, March 23, 2021 8:39 AM
   To: Mercado, Rachel (USATXW) <RMercado@usa.doj.gov>
   Subject: Re: Cory Patton



   Good morning Ms. Mercado:


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I got this BluRay to work (had to go through a few BluRay disc drives). Now, I'm getting a message that the ZIP file is
password protected ... how do I access its contents?



Thanks



On Fri, Mar 19, 2021 at 1:26 PM Mercado, Rachel (USATXW) <Rachel.Mercado@usdoj.gov> wrote:

 Yes



 From: John de la Vina <delavina.law@gmail.com>
 Sent: Friday, March 19, 2021 1:09 PM
 To: Mercado, Rachel (USATXW) <RMercado@usa.doj.gov>
 Subject: Re: Cory Patton



 Hi Rachel:



 The Blu‐ray still isn’t working. Can I drop off an external drive?



 Thanks

 John N. de la Viña

 Attorney At Law



          On Feb 23, 2021, at 9:31 AM, Mercado, Rachel (USATXW) <Rachel.Mercado@usdoj.gov> wrote:




          Counsel- this discovery is ready for pick up at the USAO front desk.



          Rachel

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From: Marshall, Mark (USATXW) <MMarshall1@usa.doj.gov>
Sent: Monday, February 22, 2021 1:50 PM
To: John de la Vina <delavina.law@gmail.com>
Cc: Mercado, Rachel (USATXW) <RMercado@usa.doj.gov>
Subject: RE: Cory Patton



Same here. 20 Hours no power; five days no water. Glad I still have all my backpacking gear.



Contact Rachel at the USAO and she will let you know when you can get discovery at the front
window of the office.



I will offer him a 5 – 40 year count with cooperation. Possibility of 5K. He will have a lot of relevant
conduct to work off.



Just saw the Pretrial Services report recommending conditions of release. Bad idea for any number
of reasons. Let me know if you intend to pursue release. I will then be in a position of having the
case agent testify to all of the relevant conduct. Probation gets all of that when they prepare the
Pretrial Services Report. Sort of ties everyone’s hands.




Let me know. Mark




From: John de la Vina <delavina.law@gmail.com>
Sent: Monday, February 22, 2021 8:49 AM
To: Marshall, Mark (USATXW) <MMarshall1@usa.doj.gov>
Subject: Re: Cory Patton



Mark:



WOW, well that was a good way to burn a week. As you can imagine absolutely nothing happened
work‐wise as electricity was out, and I went into survival mode slipsliding around Bouldin Creek /
Zilker between mine and my girlfriend's place as we traded off who didn't and did have electricity.



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So, when would be a good time to grab that discovery? Also, I am sure Mr. Patton will be open to
entering into a plea agreement in this case. I anticipate that if we remove the 10 year minimum and
find him somewhere in the range of 7 or so years it would be acceptable.



Now, in regard to state cases that were pending at the time of federal indictment ‐‐‐ is it the
Government's position that the conduct was unrelated to the alleged ongoing conspiracy? The
reason I ask is to see if any credit he earned on those cases could be potentially honored by the
sentencing court.



Thanks.

John N. de la Viña

Attorney At Law



          On Feb 14, 2021, at 3:28 PM, Marshall, Mark (USATXW)
          <mark.marshall@usdoj.gov> wrote:



          Good afternoon John, Doing our best to stay warm.



          Will have discovery in the front window as soon as we get any staff to report to the
          office. I am sure that the office will be closed Mon and Tu. This was a T III
          investigation. This will most likely take you awhile. Brief summary follows:



          Federal and State Task Force Agents have been investigating the drug trafficking
          organization (DTO) led by Maria Teresa Benitez‐Ugarte in Austin, Texas, since April
          2017. During the investigation, Agents identified Cory PATTON as a large‐scale
          methamphetamine distributor in the Austin, Texas area. According to multiple
          confidential sources, court authorized intercepts of target telephones, physical
          surveillance, and drug seizures, PATTON receives kilograms of methamphetamine
          and multi‐ounce quantities of heroin from multiple sources to include Maria Teresa
          BENITEZ‐Ugarte and Rogelio ARIAS‐Cruz.

          Agents have conducted previous surveillance operations of Benitez‐Ugarte that
          have resulted in the seizure of large amounts of methamphetamine from members
          of this organization, including Cory PATTON.




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  Based on this and additional information, Agents obtained a series of T III wire and
  electronic interception orders that authorized the interception of communications
  between November 27, 2018 and October 5, 2018, TT 1‐5. On July 20, 2018 an order
  that authorized the interception of wire and electronic communications from 737‐
  207‐0636, a telephone number subscribed to and utilized by Cory PATTON, (Target
  Telephone #3) was signed.



  PATTON was intercepted on 356 pertinent calls on TIII of BENITEZ‐Ugarte (TT#1); on
  465 pertinent calls on TIII of BENITEZ‐Ugarte (TT#2); and and equal # of calls on
  TT#3 (07‐27‐18 to 10‐06‐18). He is responsible for kilo distributions of meth and
  heroin. Dropped phone after he was arrested on unrelated case in WillCo.



  Give me a call after you have a chance to review discovery next week. Mark




  From: John de la Vina <delavina.law@gmail.com>
  Sent: Friday, February 12, 2021 3:57 PM
  To: Marshall, Mark (USATXW) <MMarshall1@usa.doj.gov>
  Subject: Cory Patton




  Mark:



  Hope you're well. It's been a weird 12 months. Let's chat about Mr. Patton's case,
  I'd like to get discovery ASAP. Curious as to what the relevant conduct ya'll will be
  claiming is.



  Thanks ‐ please let me know when you're free next week.



  ‐‐ Best.




  ‐‐

  John de la Viña, Attorney At Law

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               702 Rio Grande Street, Austin TX 78701

               t: 512.897.3325 • f: 512.501.6307




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 ‐‐

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